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                                   STATEMENT OF FACTS

    1. Your affiant, Walter B. Giardina, is a Special Agent with the Federal Bureau of
Investigation (“FBI”) assigned to the Washington Field Office’s Federal Public Corruption Squad,
where I am responsible for investigating corruption in the Executive, Legislative and Judicial
branches of the U.S. Government. Currently, I am tasked with investigating criminal activity in
and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

    2. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

    3. On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the U.S. House of Representatives and the United States Senate were meeting in
separate chambers of the U.S. Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

   4. As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, both temporary and permanent barricades were in place around the exterior of the
U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

    5. At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

    6. Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the U.S. Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.
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    7. During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

    8. Based upon my participation in the in the investigation, I submit that there is probable
cause to believe that CASEY CUSICK was among the individuals who invaded the U.S. Capitol
building during the events summarized above.

    9. On or about March 26, 2021, the FBI received a tip from an individual (“Individual 1”), by
way of an anonymous letter mailed to the FBI, alleging that CASEY CUSICK, his father, and
another individual known to law enforcement as David Lesperance, had traveled from Florida to
the District of Columbia, participated in the January 6, 2021 riots, and during that time, entered
into the U.S. Capitol building and took videos while they were inside. Included with the letter were
photographs of CASEY CUSICK, as well as other corroborating documents.

    10. In the days following the riot, the FBI also received another telephonic tip alleging that
Lesperance was inside the U.S. Capitol building rotunda on January 6, 2021. Thereafter, Task
Force Officers (“TFOs”) assigned to the FBI Tampa Division’s Joint Terrorism Task Force
conducted a voluntary, non-custodial interview of Lesperance at his residence in Indian Harbour
Beach, Florida. During the interview, Lesperance admitted that his pastor was also present at
President Trump’s speech and then at the U.S. Capitol afterwards. Lesperance also admitted that
“they” entered the U.S. Capitol, but refused to provide law enforcement with any names.
Lesperance stated that he had a cell phone on his person while at the U.S. Capitol, and used it to
take photographs and video. However, as Lesperance also admitted, he later deleted the photos
and videos out of fear of negative repercussions.

    11. A public records search revealed that CASEY CUSICK’S father is the founder and pastor
of a church in Melbourne, Florida, and that CASEY CUSICK is the vice president of the same
church. An open source search of Instagram also uncovered a photo posted on the Instagram page
for the church which shows a group of individuals, including CASEY CUSICK (left), and
Lesperance (right):




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    12. A public record search further showed that CASEY CUSICK is associated with cellular
number XXX-XXX-3505. According to records lawfully obtained from AT&T via a search
warrant, in and around the time of the incident, the cell phone XXX-XXX-3505 was identified as
having utilized a cell site consistent with providing service to a geographic area that includes the
interior of the U.S. Capitol building.

    13. Lesperance told law enforcement that his cell phone number was XXX-XXX-6511, and
records subsequently obtained from Verizon Wireless indicated that the phone number XXX-
XXX-6511 was affiliated with an Apple iPhone registered to Lesperance. Records from Apple Inc.
via a search warrant for location history data related to Lesperance’s iCloud account revealed that
Lesperance’s phone was inside the U.S. Capitol building on the afternoon of January 6, 2021.
Furthermore, historical location data for Lesperance’s phone was also obtained through a search
warrant served on Verizon Wireless. According to this data, Lesperance’s phone was identified
as having utilized a cell site consistent with providing service to a geographic area that includes
the interior of the U.S. Capitol building on the afternoon of January 6, 2021.

    14. Lesperance’s iCloud account also included, amongst other things, photos of CASEY
CUSICK before and after the riot, appearing to wear the same clothes as those he was observed
wearing on U.S. Capitol Closed Circuit Television (“CCTV”) and body-worn surveillance cameras
worn by law enforcement officers at the U.S. Capitol. An example of a photo from Lesperance’s
iCloud account of what appears to be CASEY CUSICK on January 5, 2021, is provided below:


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   15. Additionally, photos of what appears to be CASEY CUSICK were discovered on
Lesperance’s iCloud account that geolocate to inside the U.S. Capitol building, an example of
which is provided below:




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   16. Law enforcement reviewed body-worn surveillance footage and CCTV images from the
U.S. Capitol. Both capture CASEY CUSICK inside the U.S. Capitol building on the afternoon of
January 6, 2021. Screenshots from one such time-stamped body-worn surveillance video, and one
such CCTV image, are provided below:




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  17. Based on the foregoing, your affiant submits that there is probable cause to believe that
CASEY CUSICK violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1)

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knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

    18. Your affiant submits there is also probable cause to believe that CASEY CUSICK
violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
As noted above, CASEY CUSICK was within “the Grounds of in any of the Capitol buildings” on
January 6, 2021.



                                                      _____________________________________
                                                      WALTER B. GIARDINA, SPECIAL AGENT
                                                      FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with
the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21 day of June, 2021.
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                                                      ___________________________________
                                                      HONORABLE ROBIN M. MERIWEATHER
                                                      UNITED STATES MAGISTRATE JUDGE




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